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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/


 ORDER AUTHORIZING DISTRIBUTION OF FUNDS FROM THE
   QUALIFIED SETTLEMENT FUND FOR PAYMENT OF FEES
  AND EXPENSES FOR SERVICES PROVIDED BY ALVAREZ &
   MARSAL DISPUTES AND INVESTIGATIONS, LLC FOR THE
  PURPOSE OF ASSISTING THE SPECIAL MASTER WITH THE
    CLAIMS ADMINISTRATION PROCESS FOR THE PERIOD
        JANUARY 2023 THROUGH FEBRUARY 17, 2023

       Having now considered the Notice Of The Special Master Regarding

 Request for Payment of Fees And Expenses For Services Provided By

 Alvarez & Marsal Disputes And Investigations, LLC For The Purpose Of

 Assisting The Special Master With The Claims Administration Process

 For The Period January 2023 Through February 17, 2023 filed on May 1,

 2023, ECF No. 2429 (“Notice”):

       IT IS HEREBY ORDERED THAT:
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     1. A distribution of funds in the amount of $76,935.23 from the FWC

       Qualified Settlement Fund1 for the purpose of paying the Advance

       Payment to Alvarez & Marsal Disputes And Investigations, LLC is

       approved. The QSF Administrator is directed to disburse the funds

       to Alvarez & Marsal Disputes And Investigations, LLC as directed

       by the Special Master.

 IT IS SO ORDERED.

 Dated: May 2, 2023                       s/Judith E. Levy
 Ann Arbor, Michigan                      JUDITH E. LEVY
                                          United States District Judge

                      CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or first-class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on May 2, 2023.

                                          s/William Barkholz
                                          WILLIAM BARKHOLZ
                                          Case Manager




 1Unless otherwise defined herein, all capitalized terms herein have the same
 meaning set forth in the Amended Settlement Agreement.
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